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                          UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA
                              PITTSBURGH DIVISION

LINDA EWING,                                 §
Individually and on behalf of all others     §
similarly situated,                          §     DOCKET NO. 2:17-cv-01573-MRH
        Plaintiff,                           §
                                             §
v.                                           §
                                             §
FIRSTENERGY CORP.,                           §
     Defendant.                              §


                        ORDER OF DISMISSAL WITH PREJUDICE

      Pursuant to the Joint Stipulation of Dismissal with Prejudice filed by the Parties, the

above-referenced case is hereby dismissed with prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii). IT IS ORDERED that all claims in dispute in this lawsuit against

Defendant FirstEnergy Corp. be dismissed with prejudice to re-filing. All attorneys’ fees and

costs will be borne by the party incurring same.

        SIGNED this 1st       day of       July       , 2020.



                                              s/ Mark R. Hornak
                                             ______________________________________
                                             UNITED STATES DISTRICT JUDGE




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